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9
                             UNITED STATES DISTRICT COURT
10
                           SOUTHERN DISTRICT OF CALIFORNIA
11
      THANE CHARMAN, individual,                Case No.: 23-cv-0959-BAS-KSC
12                                 Plaintiff,
                                                     MEMORANDUM OF POINTS AND
13    v.                                              AUTHORITIES IN SUPPORT OF
14                                                   MOTION TO DISMISS AMENDED
      DESERT LAKE GROUP, LLC, d/b/a
                                                            COMPLAINT
15    FIRST CLASS HERB TINCTURE,
      d/b/a FIRST CLASS HERBALIST
16                                              Hearing Date:   February 26, 2024
      CBD, d/b/a FIRST CLASS
17    HERBALIST OILS, d/b/a USA
                                                    NO ORAL ARGUMENT UNLESS
      HERBALIST OILS, BENSON
18                                                     ORDERED BY THE COURT
      CHRISTOPHER HUNTER, an
                                                Place:      James M. Carter and Judith
19    individual, CHRIS TIRRELL
                                                            N. Keep U.S. Courthouse
      ARMSTRONG, an individual, DARIN
20                                                          333 West Broadway
      EDWARD TOONE, an individual,
                                                            Courtroom 12B, 12th Floor
21    JARED C FORBUSH, an individual,
                                                            San Diego, CA 92101
      JONATHAN KENT VIRGIN, an
22                                              Judge:      Hon Cynthia A. Bashant
      individual, NICHOLAS ANTHONY
23    ARMSTONG, an individual,
                                                Complaint Filed: May 25, 2023
      NICHOLAS LANE JESSEN, an
24                                              Trial Date:      Not Set
      individual RYAN DEAN HOGGAN,
25    an individual,
26                               Defendant.
27
28
                                                 1
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT              Case No. 23-cv-0959-BAS-KSC
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1
2                     MEMORANDUM OF POINTS AND AUTHORITIES
3     I.    INTRODUCTION.
4           Plaintiff Thane Charman (“Plaintiff”) alleges violations of the Telephone Consumer
5     Protection Act (“TCPA”) against all defendants claiming Defendant Desert Lake Group,
6     LLC (“Desert Group”) sent numerous unauthorized automated text messages to Plaintiff’s
7     personal cell phone soliciting goods and services. Through this lawsuit, Plaintiff seeks to
8     hold Defendant Ryan Hoggan (“Hoggan”) legally liable for the alleged unauthorized
9     automated text messages sent to Plaintiff by Desert Group.
10          Plaintiff’s service of the Amended Complaint and the Amended Complaint suffer
11    fatal flaws: (1) the Amended Complaint was not properly served upon Hoggan, an
12    individual, and (2) this Court does not have personal jurisdiction over Hoggan. Hoggan
13    was not personally served with a copy of the Amended Complaint and therefore service of
14    the Amended Complaint was improper. Additionally, Hoggan is not a resident of
15    California, has not availed himself of the laws of California, has not taken affirmative steps
16    to have a substantial or continuous presence in California, has no substantial connection
17    with California, and did not direct the allegations actions taken by Desert Group.
18    Accordingly, the Amended Complaint should be dismissed for insufficient service of
19    process and lack of personal jurisdiction over Hoggan, and he must be dismissed from this
20    lawsuit.
21    II.   FACTUAL BACKGROUND.
22          a.     Pertinent Procedural Background.
23          Plaintiff filed his Complaint on May 25, 2023. (Dkt. No. 1) against Defendant Desert
24    Group. That same day, a Summons was issued. (Dkt. 2). Plaintiff filed his Amended
25    Complaint on October 16, 2023, against Defendants Desert Group and additionally named
26    Benson Hunter, Chris Armstrong, Darin Toone, Jared Forbush, Jonathan Virgin, Nicholas
27    Armstrong, Nicholas Jessen, and Hoggan as Defendants. (Dkt. 6). That same day,
28    Amended Summonses were issued. (Dkt. No. 8).
                                             2
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1              b.    Plaintiff’s Allegations.
2              Plaintiff alleges this Court has specific personal jurisdiction over Desert Group
3     because Desert Group “called Plaintiff’s San Diego-area phone number (with area code
4     619) to generate leads….” (Am. Compl., ¶ 7.) Plaintiff alleges he “received at least nine
5     (9) unauthorized automated text messages” from Desert Group soliciting its goods and
6     services. (Id. at ¶ 24.) While Plaintiff alleges that “a corporate officer involved in the
7     telemarketing at issue may be personally liable under the TCPA” (Id. at ¶ 21), Plaintiff’s
8     Amended Complaint is devoid of any allegations regarding this Court’s jurisdiction over
9     Hoggan – either as a corporate officer of Desert Group or any involvement with the alleged
10    unauthorized automated text messages. (See generally Am. Compl.)
11             c.    Service of Process.
12             On November 16, 2023, Plaintiff apparently attempted to serve Hoggan personally
13    but was unsuccessful. (See Proof of Service, Dkt. No. 10). On November 19, 2023, Plaintiff
14    attempted to serve Hoggan personally at the same address but was unsuccessful. (Id.) On
15    November 21, 2023, at 5:30 a.m. Plaintiff attempted again to serve Hoggan and claims that
16    service was effectuated by personal service. (Id.). Specifically, the affidavit of service,
17    signed by Clifford Griffis, states: “Personal service caught Ryan looking out window, was
18    monitoring me from window cameras (attempted to evade), also Amazon packages at door
19    with Defendant name on them. Announced service onto him ensuring he could hear me.”
20    (Id.).
21             However, the affidavit of service signed by Mr. Griffis is not accurate and contains
22    false statements contradicted by text messages Mr. Griffis sent Hoggan. On November 16,
23    2023, at 3:49 p.m. MST, during the first alleged attempt to personally serve Hoggan with
24    the Amended Complaint and Amended Summons, he was not home and was not aware
25    service was attempted. (Declaration of Ryan Hoggan (“Hoggan Decl.”), ¶ 13, attached as
26    Exhibit 1). On November 19, 2023, at 8:05 a.m. MST, during the second alleged attempt
27    to personally serve Hoggan, he again was not home, was not aware service was attempted,
28    and was not attempting to evade service. (Id. at ¶ 14). On November 21, 2023, at 5:30 a.m.
                                                   3
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1     MST, during the third alleged attempt to personally Hoggan, he was asleep in bed and did
2     not hear a knock or doorbell ring, if there was one. (Id. at ¶ 15). As a result, Hoggan did
3     not look out a window or monitor Mr. Griffis from a window camera that morning and was
4     not aware service was attempted. (Id. at ¶ 15).
5           The first time Hoggan learned Mr. Griffis was attempting to contact Hoggan was on
6     November 21, 2023, at 5:00 p.m. MST when Mr. Griffis sent Hoggan a text message. (Id.
7     at ¶ 16). The first text message stated that Mr. Griffis is a “PI doing process service, I have
8     some legal documents for you, since you don’t seem to be home where do you want me to
9     leave the paperwork???” (Id. at ¶ 16). Mr. Griffis sent a second text message on November
10    21, 2023, at 6:01 p.m. MST that stated “left your paperwork at your front door….” (Id. at
11    ¶ 17). The text messages from Mr. Griffis contradict the statements made under oath in his
12    affidavit of service filed with this Court. (See Dkt. 10).
13          d.     Personal Jurisdiction.
14          Hoggan is a resident of Utah and has resided at his current residence since 2015.
15    (Hoggan Decl., ¶ 3). Hoggan is not registered to vote in California, does not have a
16    California driver’s license, does not own property in California, does not conduct personal
17    business in California, and does not travel regularly to California. (Id. at ¶¶ 4-9). Other
18    than incidental travel through or an occasional vacation in California, Hoggan has no
19    connection with California. (Id. at ¶ 8).
20          With regard to Desert Group, Hoggan owned a minority membership interest in
21    Desert Group until May 2019 (Id. at ¶ 10). Hoggan was not a manager of the Desert Group
22    and not involved in the day-to-day operations of the business, including marketing
23    decisions. (Id. at ¶¶ 11-12).
24
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      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                   Case No. 23-cv-0959-BAS-KSC
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1     III.   ARGUMENT.
2            a.     The Court Should Dismiss the Complaint for Insufficient Service of
                    Process.
3
4            Rule 4 of the Federal Rules of Civil Procedure requires proper service of a summons
5     and complaint. Pursuant to Rule 4, service upon an individual is accomplished as follows:
6                  (1) following state law for serving a summons in an action
                   brought in courts of general jurisdiction in the state where the
7
                   district court is located or where service is made; or
8                  (2) doing any of the following:
                          (A) delivering a copy of the summons and of the
9
                          complaint to the individual personally;
10                        (B) leaving a copy of each at the individual’s dwelling or
                          usual place of abode with someone of suitable age and
11
                          discretion who resides there; or
12                        (C) delivering a copy of each to an agent authorized by
                          appointment or by law to receive service of process.
13
14           Fed. R. Civ. P. 4(e). “A federal court does not have jurisdiction over a defendant
15    unless the defendant has been served properly under Fed. R. Civ. P. 4” Direct Mail
16    Specialists v. Eclat Computerized Techs, Inc., 840 F.2d 685, 688 (9th Cir. 1988). While
17    Rule 4 may be construed liberally, “substantial compliance” is required and “neither actual
18    notice nor simply naming the defendant in the complaint will provide personal
19    jurisdiction.” Id. (citing Benny v. Pipes, 799 F.2d 489, 492 (9th Cir. 1986). Even a liberal
20    construction of Rule 4 “cannot be utilized as a substitute for the plain legal requirement as
21    to the manner in which service of process may be had.” Mid-Continent Wood Products,
22    Inc. v. Harris, 936 F.2d 297, 300 (7th Cir. 1991).
23           The proper method of challenging the service of the summons and complaint is
24    through a Rule 12(b)(5) motion for “insufficiency of service of process.” Fed. R. Civ. P.
25    12(b)(5). A motion brought under Rule 12(b)(5) challenges the validity of the actual
26    method or manner of service of process. Once service of process is properly challenged,
27    the plaintiff bears the burden of establishing the validity of such service. Brockmeyer v.
28    May, 383 F.3d 798, 801 (9th Cir. 2004). In deciding a motion to dismiss for insufficient
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1     service of process a district court has broad discretion to either dismiss the action entirely
2     for failure to effect service or to quash a defective service and permit re-service. See Jones
3     v. Automobile Club of Southern California, 26 Fed.Appx. 740, 742 (9th Cir. 2002); Stevens
4     v. Security Pacific Nat’l Bank, 538 F.2d 1387, 1389 (9th Cir. 1976).
5           Here, Plaintiff failed to cause the Amended Summons and Amended Complaint to
6     be personally served upon Hoggan. The affidavit of service signed by Mr. Griffis and filed
7     by Plaintiff fails to show that the Amended Summons and Amended Complaint were
8     actually personally served upon Hoggan. The affidavit states that Mr. Griffis allegedly
9     caught Hoggan looking out a window at 5:30 a.m., on November 21, 2023, monitoring Mr.
10    Griffis from window cameras, and Mr. Griffis announced service unto Hoggan. (Dkt. No.
11    10). The affidavit of service fails to state that the Amended Summons and Amended
12    Complaint were personally served on Hoggan. Additionally, while the affidavit of service
13    claims to Hoggan was personally served the pleadings, the text messages sent by Mr.
14    Griffis to Hoggan contradict the affidavit of service. Mr. Griffis stated that as of 5:00 p.m.
15    on November 21, 2023, the pleadings had not yet been served because Hoggan was not
16    home. (Hoggan Decl., ¶ 16). The text messages further stated that Mr. Griffis left the
17    paperwork on the front door. (Id. at ¶ 17).
18          The foregoing facts show that Plaintiff failed to personally serve Hoggan with the
19    Amended Summons and Amended Complaint in accordance with Rule 4 of the Federal
20    Rules of Civil Procedure. Plaintiff’s failure to comply with Rule 4 is fatal to his case and
21    the Amended Complaint against Hoggan should be dismissed.
22          b.      The Court Should Dismiss the Complaint for Lack or Personal
                    Jurisdiction over Defendant Hoggan.
23
24          Under Rule 12(b)(2), a court may dismiss a case for “lack of personal jurisdiction
25    over the person.” Fed. R. Civ. P. 12(b)(2). “Because California’s long-arm statute allows a
26    court to exercise personal jurisdiction to the extent permitted by the Due Process Clause of
27    the United States Constitution, ‘the jurisdictional analyses under state law and federal due
28    process are the same.’” Komaiko v. Baker Technologies, Inc., 2020 WL 1915884, 4 (citing
                                                 6
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1     Yahoo! Inc. v. LA Ligue Contre Le Racisme Et L’Antisemitisme, 433 F.3d 1199, 1205 (9th
2     Cir. 2006)). On a motion to dismiss for lack of personal jurisdiction, the non-moving party
3     bears the burden of establishing that jurisdiction is proper.” Boschetto v. Hansing, 539 F.3d
4     1011, 1015 (9th Cir. 2008).
5            In deciding a motion to dismiss, a district court may hold an evidentiary hearing or
6     rely on the pleadings and affidavits submitted to the court. Id.; see also Mavrix Photo, Inc.
7     v. Brand Technologies, Inc., 647 F.3d 1218, 1223 (9th Cir. 2011). If an evidentiary hearing
8     is not held and the motion is decided on written materials, and the “[t]he plaintiff cannot
9     simply rest on the bare allegations of its complaint, but uncontroverted allegations in the
10    complaint must be taken as true.” Mavrix Photo, Inc. 647 F.3d at 1223. However, the court
11    “may not assume the truth of the allegations in a pleading which are contradicted by
12    affidavit.” Id.
13           Personal jurisdiction may be either general or specific. Bristol-Myers Squibb Co. v.
14    Sup. Ct. Cal., San Francisco Cty., 137 S. Ct. 1773, 1780 (2017). “For an individual, the
15    paradigm forum for the exercise of general jurisdiction is the individual’s domicile.”
16    Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011). Plaintiff’s
17    Amended Complaint does not assert allegations of general jurisdiction against any
18    Defendant and therefore general jurisdiction need not be addressed. However, to the extent
19    an argument is made that general jurisdiction exists as to Hoggan, such an argument would
20    be futile and fail. Hoggan is not domiciled in California and does not have any connection
21    to California, such as owning property in California, having a California driver’s license,
22    or other similar connections. (Hoggan Decl., ¶¶ 3-9).
23           In contrast, “[s]pecific jurisdiction exists when a case arises out of or relates to the
24    defendant’s contacts with the forum.” Ranza v. Nike, Inc., 793 F.3d 1059, 1068 (9th Cir.
25    2015). “It depends on an affiliation between the forum and the underlying controversy,
26    principally, activity or an occurrence that takes place in the forum State and is therefore
27    subject to the State’s regulation.” Id. To be subject to specific jurisdiction the Ninth Circuit
28    uses the following three-part test:
                                                     7
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1                  (1) The non-resident defendant must purposefully direct his
                   activities or consummate some transaction with the forum or
2
                   resident thereof; or perform some act by which he purposefully
3                  avails himself of the privilege of conducting activities in the
                   forum, thereby invoking the benefits and protections of its laws;
4
                   (2) the claim must be one which arises out of or relates to the
5                  defendant's forum-related activities; and
                   (3) the exercise of jurisdiction must comport with fair play and
6
                   substantial justice, i.e. it must be reasonable.
7
      Yahoo! Inc., 433 F.3d at 1205–06. None of the foregoing factors are met in this case as to
8
      Hoggan.
9
            First, Hoggan does not conduct business in California and did not direct the affairs
10
      of the Desert Group, including Desert Group’s marketing or day-to-day business
11
      operations. (Hoggan Decl., ¶¶ 9-12). Further, Hoggan was not a manager of the Desert
12
      Group and only owned a minority interest in the company. (Id). Further, there are no
13
      allegations in the Amended Complaint regarding any actions taken by Hoggan on behalf
14
      of the Desert Group or directing that the alleged unauthorized automated text messages be
15
      sent. (See generally Am. Compl.). Put simply, Hoggan did not purposefully avail himself
16
      of the privilege of conducting activities in California.
17
            Second, based on the foregoing facts, there are no claims asserted that arise out of
18
      or related to Hoggan’s forum-related activities. Hoggan has no connections with California,
19
      did not conduct business in California, did not direct Desert Group to conduct business in
20
      California, or other activities that related to California or this matter.
21
            Finally, on the facts presented here, and significant allegations lacking in the
22
      Amended Complaint, it would be unreasonable for this Court to assert personal jurisdiction
23
      over Hoggan. The connection between Hoggan and California is woefully lacking, and
24
      Plaintiff has failed to allege any connection between Hoggan and California.
25
            Because Plaintiff cannot satisfy any of the elements to establish personal
26
      jurisdiction, and the facts presented here show there is no personal jurisdiction, Plaintiff’s
27
      Amended Complaint and causes of action against Hoggan must be dismissed.
28
                                                     8
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1     IV.   CONCLUSION.
2           For the foregoing reasons, Hoggan respectfully requests the Court dismiss Plaintiff’s
3     Amended Complaint against Hoggan.
4     DATED:      January 12, 2024
5
                                            FABIAN VANCOTT
6
                                            /s/ Jeffrey B. Setness
7
                                            JEFFERY B. SETNESS
8                                           Attorneys for Defendant Ryan Hoggan
9
10                                          /s/ Jeffrey C. Bramble
                                            JEFFREY C. BRAMBLE
11
                                            (Pro Hac Vice Application Pending)
12                                          Attorneys for Defendant Ryan Hoggan
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